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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                      Case No. 1:08-cr-176
v.
                                                      HONORABLE PAUL L. MALONEY
JUAN GOMEZ,

                  Defendant.
_________________________________/

                ORDER ADOPTING REPORT AND RECOMMENDATION
              AND GRANTING UNOPPOSED MOTION TO CONTINUE BOND


       The Court has reviewed the Report and Recommendation filed by United States Magistrate

Judge Joseph G. Scoville in this action. The Report and Recommendation was duly served on the

parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (Dkt. #33) is approved

and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count One of the Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


       IT IS FURTHER ORDERED that defendant’s unopposed motion to continue bond (Dkt.

#36) is GRANTED. Defendant’s bond is continued pending sentencing.


Date: January 20, 2009                                 /s/ Paul L. Maloney
                                                      Paul L. Maloney
                                                      Chief United States District Judge
